Case 2:03-cr-20451-.]DB Document 37 Filed 06/22/05 Page 1 of 2 Page|D 38

IN THE UNITED STATES DISTRICT COURT FH,ED BY __ D.C.
FOR THE WESTERN DISTRICT OF TENNESSEE

wEsTERN DIVISION 05 JUN 22 PH 3¢ h`.~`

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CLEHK, U.S. D!ST. C`¥'.

 

UNITED STATES OF AMERICA,

W.D. OF TN, MEMPH|S
Plaintiff,

VS. NO. 03-20451

NICHOLAS MORROW,
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION
TO CONTINUE SUPPRESSION HEARING

This cause came on upon the motion of the Defendant to continue the suppression

hearing set on June 23, 2005 at 10:00 a.m. For good cause shown, the Court hereby grants the
Defendant’s motion.

IT ls so 0RDERED this 7_£ day of.hme, 2005.

 

. IEL BREEN
UN ED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 37 in
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Honorable J. Breen
US DISTRICT COURT

